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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,                                           :

                          Plaintiff,                          :
                                                                   ORDER
                                                                   19 Civ. 4355 (LGS) (GWG)
COLLECTOR’S COFFEE INC., et al.,                              :

                           Defendants.                        :
---------------------------------------------------------------x

GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        The SEC’s motion for contempt (Docket # 452) seeks to raise three grounds for contempt
sanctions against Mykalai and Veronica Kontilai: (1) that Mykalai worked with Veronica to
make transfers of cash from the United States to Russia for his benefit; (2) that Mykalai engaged
in schemes to divert to himself insurance proceeds belonging to Collector Coffee Inc. and (3)
that Mykalai intentionally destroyed evidence, including evidence in furtherance of the insurance
fraud scheme. (Docket # 453 at 1-2). In addition, the motion seeks sanctions against Mykalai
under the “inherent power” of the Court based on Mykalai’s alleged efforts to delay proceedings
in furtherance of the insurance scheme. (Docket # 453 at 2). Also before the Court is a letter
(Docket # 497) stating the SEC’s desire to seek contempt sanctions against Mykalai based upon
Mykalai’s failure to comply with a discovery order (Docket # 427) — a remedy permitted by
Fed. R. Civ. P. 37(b)(2)(A)(vii).

       With respect to the original motion, while Mykalai and Veronica have made legal
arguments in opposition to the request for contempt sanctions, it appears there are at least some
disputes of fact, including disputes regarding the admissibility or weight to be given evidence.
Accordingly, the Court concludes that a hearing on the motion for contempt is required. The
Court expects the parties to address the issue raised in Docket # 497 at the hearing as well.
However, there has been no briefing or evidence submitted as yet regarding the request made in
Docket # 497. Accordingly, the parties shall discuss the need to provide supplemental briefing
in advance of the hearing regarding the matter raised in Docket # 497 and shall make joint or
separate proposals on this issue.

        The Court concludes that allowing each party six hours for presentation of its case and
for any cross-examination of the opposing party’s witnesses is sufficient. The parties shall file
proposed findings of fact and conclusions of law by November 16, 2020. The hearing shall be
held on December 7 and 8, 2020. The parties shall discuss any arrangements that need to be
made for the appearance of witnesses and/or attorneys (and possibly the Court) by video and
shall make a joint or separate proposals on this question.
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        The joint or separate proposals described above shall be filed on or before October 28,
2020.

        SO ORDERED.

Dated: October 15, 2020
       New York, New York
